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              EXHIBIT F
Declaration of Ry Meyer, Catholic Charities
      of the Archdiocese of Dubuque
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                              DECLARATION OF RY MEYER

I, Ry Meyer, pursuant to 28 U.S.C. § 1746, declare as follows:

   1. I am an Immigration Attorney employed by Catholic Charities of the Archdiocese of
      Dubuque’s Immigration Legal Services (CCAD ILS). I am an attorney who specializes in
      immigration law with 11 years of experience as a licensed attorney and 5 years of
      specialized training and experience in the area of immigration law. I am licensed to
      practice law in the State of Iowa. The purpose of this declaration is to discuss the ways in
      which the new illegal reentry law, Senate File 2340, will affect CCAD ILS’s immigrant
      clients and the community we serve.

   2. Catholic Charities is a registered nonprofit social service entity in the state of Iowa. The
      agency was founded in 1931 to address and relieve the suffering of the most vulnerable
      people in our society.

   3. CCAD’s mission is to empower communities by reducing poverty and strengthening
      families. As a religious nonprofit, CCAD is guided by Catholic Social Teachings and the
      Catholic ethos of outreach to the poor and vulnerable. Our services are available to
      people of all faiths or no religious faith who live within one of the Archdiocese of
      Dubuque’s thirty counties in northeast Iowa. CCAD ILS offers high-quality affordable
      legal services from experienced immigration attorneys and Department of Justice
      accredited legal representative(s) in support of this mission. CCAD ILS services include
      legal representation and advice generally falling under humanitarian- and family-based
      immigration assistance, including but not limited to naturalization, adjustment of status,
      family petitions, removal defense, temporary protected status, special immigrant juvenile
      status, consular processing, and other services. CCAD ILS offers free legal consultations,
      during which staff attorneys assess potential clients for eligibility for immigration
      benefits or protections. CCAD also provides services in addition to immigration legal
      services, such as affordable housing, case management, mental health counseling, and jail
      and prison ministry.

   4. The first step in assessing an immigrant’s eligibility for services starts with a confidential
      legal consultation, scheduled after initial contact from potential immigrant clients. Many
      immigrants are eligible for legal pathways to immigration status, such as “U Visas” for
      victims of crime, “T Visas” for victims of trafficking, “VAWA” protections for victims
      of domestic/intimate partner or sexual violence, or “Special Immigrant Juvenile” status
      for minors who have been abandoned, neglected, or abused. Bona fide asylum seekers
      may be “undocumented.” CCAD also serves immigrants who are eligible for
      “Withholding of Removal” and withholding under the Convention against Torture, which
      are federal programs that offer protection to immigrants who in some cases may have
      received an Order of Removal, Deportation, or Denial of Admission prior to filing for
      these benefits.


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5. Many potential clients who are in a documented immigration status, and who are eligible
   for federal immigration protections or benefits, have previously received removal orders
   but the resulting penalties have expired. Such individuals are often eligible for family-
   based or humanitarian-based protections and benefits, and therefore eligible for our
   immigration legal services. Assurance of confidentiality and a meeting free from fear is
   crucial to consultation, or individuals such as those listed would avoid contact with
   service providers such as ours out of fear of detainment, punishment, or harassment.

6.    CCAD ILS currently employs four attorneys and one Department of Justice (DOJ)
     partially accredited legal representative. Each attorney or legal representative carries a
     caseload ranging from approximately 80-120 active cases. Each attorney or
     representative aims to conduct approximately 120 consultations in a year. Approximately
     over half of these consultations result in offers of representation. The remainder receive
     referral information recommending they seek other legal counsel.

7. The passage of S.F. 2340 directly impedes CCAD ILS’s mission to empower
   communities, reduce poverty, and strengthen families by providing immigration legal
   services. The law targets immigrants who may be seeking a form of legal immigration
   relief, protection, or benefit, such as some “U” and “T” Visa applicants, “VAWA”
   applicants, asylum, withholding or removal, and Special Immigrant Juvenile applicants.
   The text of this law also targets people who may have a current legal immigration status,
   such as previously-removed immigrants who have been granted legal status
   notwithstanding their prior removal orders. The text of this law also targets people who
   entered the U.S. with authorization or later obtained legal immigration status in a variety
   of foreseeable circumstances and situations. These types of immigrants, whom CCAD
   ILS regularly serves with consultations and/or follow-up representation, would be
   discouraged from seeking services and accessing programs to obtain, stabilize, or renew
   their legal immigration status. Additionally, immigrants who may not think they are
   eligible for status will be discouraged from seeking other services. It is particularly
   important for people without eligibility for immigration relief to be able to access
   confidential legal consultations with CCAD ILS, so such immigrants receive legal case
   analysis from an attorney as opposed to making legal assumptions based on rumor, social
   media, or other non-legal sources.

8. Our legal services help immigrants access legal information and benefits, which
   strengthens the community overall. CCAD ILS seeks to reduce barriers by explaining the
   complexity of immigration law, not just for immigrants seeking our services but for the
   general public. We aim to reduce language and cultural barriers to help immigrants
   overcome fear and stigma by offering affordable legal immigration services. Our program
   incentivizes compliance with legal behavior and supports the community, economy, and
   most of all families. Laws such as, and specifically including, S.F. 2340 create fear in
   immigrant populations, which decreases their willingness to reach out to our organization
   for assistance. S.F. 2340 already has increased fear for immigrants who have a right to

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   seek out legal advice and pursue eligible legal protections. This effect already has
   impacted CCAD’s workflow and services, and CCAD ILS anticipates this effect will
   increase if the law goes into effect as planned. CCAD ILS cannot serve immigrants and
   the greater community in our service area if S.F. 2340 causes immigrants to retreat from
   engagement due to fear of punishment.

9. This law negatively affects the clients CCAD ILS serves in several ways. First, S.F. 2340
   negatively targets immigrants in the Archdiocese of Dubuque, the population whom
   CCAD ILS serves, and will impact their ability to access counsel. If this law proceeds to
   enforcement on July 1st, 2024 as planned, CCAD ILS clients and potential clients will be
   afraid to show up for their appointments or legal meetings for fear that they could be
   stopped and arrested under the new law. The consequences are likely to negatively affect
   families with mixed immigration status, people with legal status, and people eligible for
   legal status, all of whom are people CCAD serves. These people, among the most
   vulnerable in our service area, will face significant harm if this law denies them access to
   legal consultations and representation, separating them from needed legal assistance to
   stabilize, obtain, and maintain their legal immigration status.

10. Second, S.F. 2340 will harm our ministry to serve immigrants in our community,
    consistent with Catholic principles. Catholic Social Teachings guide our ministry to the
    poor and most vulnerable in our community. Our calling is to uplift the life and dignity of
    all people, including immigrants regardless of their immigration status. But SF2340 will
    exacerbate exploitation, abuse, and family separation for the immigrant communities we
    serve. Survivors of crime and abuse, such as recipients of U visa, T visa, VAWA,
    asylum, who have previously been removed from the U.S., are unquestionably among the
    most vulnerable people in the CCAD service area. They are also often eligible for our
    services to help them obtain legal immigration status. S.F. 2340 impedes CCAD ILS’s
    ability to provide them services that our organization is qualified and structured to
    provide. In this way S.F. 2340 also impedes our religious freedom to follow our calling
    and mission to help the vulnerable and impoverished.

11. Third, enactment of S.F. 2340 will create a chilling effect for other services offered to
    immigrants by our agency such as case management, counseling, and/or affordable
    housing, exacerbating the harm to vulnerable immigrants in CCAD’s service area. If
    enacted, this law would separate our vulnerable clients from the services we provide, and
    deprive them of the resources CCAD has allocated to help them. Out of fear of this law
    and its threat of consequences for being present in the CCAD service area, immigrants
    would lose access to our service providers, our trained and licensed professionals in
    mental health, counseling, housing, and case management. They would lose access to our
    CCAD office facilities, administrative support, and proper supplies and equipment
    normally available to CCAD staff in our established locations.




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